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                            Declaration of
                        Elizabeth McNamara
                               Exhibit 70
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                      U S. Immigration
      Bital
      rir,R            and Customs
                      Enforcement
                                STATEMENT


                                     OF


                           DR. STEWART D. SMITH
                            ASSISTANT DIRECTOR
                         ICE HEALTH SERVICE CORPS
                  ENFORCEMENT AND REMOVAL OPERATIONS
               U.S. IMMIGRATION AND CUSTOMS ENFORCEMENT
                     DEPARTMENT OF HOMELAND SECURITY




                        REGARDING A HEARING ON

              "REPORT ON THE IR WIN COUNTY DETENTION CENTER"

                                BEFORE THE


                     UNITED STATES SENATE
   COMMITTEE ON HOMELAND SECURITY AND GOVERNMENTAL AFFAIRS
          PERMANENT SUBCOMMITTEE ON INVESTIGATIONS


                          Tuesday, November 15, 2022
                                   2:30 PM
                              Senate Dirksen 342




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         Chairman Ossoff, Ranking Member Johnson, and distinguished members of the
Subcommittee, thank you for the opportunity to appear before you today to discuss the U.S.
Immigration and Customs Enforcement (ICE) Health Service Corps' (IHSC) commitment to
provide quality healthcare services in accordance with nationally recognized detention
standards, and support the safe apprehension, enforcement, and removal of detained individuals
throughout their immigration proceedings. Our mission is to deliver high quality healthcare to
all noncitizens in ICE custody as well as to operate the best detention healthcare system
possible.
                                          Introduction


         IHSC's workforce consists of approximately 1,700 federal civil servants, U.S. Public
Health Service (PHS) Commissioned Corps officers, and contractors. These positions represent a
wide array of healthcare professionals throughout the United States, including physicians,
advanced practice providers, registered nurses, psychiatrists, psychologists, social workers,
pharmacists, dentists, and healthcare administrators. In Fiscal Year (FY) 2022, IHSC provided
direct care to over 118,000 detained noncitizens housed at 19 IHSC-staffed facilities throughout
the nation, including medical, dental, mental healthcare, and public health services. In addition,
IHSC oversaw compliance with detention standards for healthcare for over 120,500 detained
noncitizens housed in 163 non-IHSC-staffed facilities. In FY 2022, IHSC's operating budget
approached $324 million on detained noncitizen health care.


         ICE's detained population presents unique healthcare challenges. In many instances, the
care detained noncitizens receive while in ICE custody is the first professional medical care they
have ever received. Consequently, it is common for detained noncitizen health screenings to
identify chronic and serious health conditions which were previously undiagnosed. To fulfill our
mission of delivering high quality healthcare to all those in ICE custody, detained noncitizens
within IHSC-staffed and non-IHSC-staffed facilities receive a comprehensive medical, dental, and
mental health intake screening within 12 hours of arrival, and a comprehensive health assessment,
including a physical examination and mental health screening by a qualified, licensed health care
professional within 14 days. Detained noncitizens identified as high-risk during the intake process
are triaged for a higher level of care immediately. In addition, each facility housing ICE detained
noncitizens is staffed by medical care professionals 24 hours a day, seven days a week, for direct


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patient access. IHSC staff work to improve health and resiliency through prevention and evidence-
based disease treatment. While IHSC does not directly provide or direct the medical care provided
in non-IHSC-staffed facilities, IHSC does oversee those facilities' compliance with national
detention standards and coordination of offsite care through medical referrals, as needed, through
the Field Medical Coordinator (FMC) program.


         ICE embraces nationally recognized performance standards for detention and healthcare
delivery, and ICE's integrated healthcare delivery program undergoes extraordinary scrutiny,
including multiple levels of independent oversight. For example, to ensure compliance with ICE
detention standards and the provision of high quality and comprehensive healthcare, ICE conducts
regular reviews and on-site assessments and, when needed, implements corrective action plans.


                                         Facility Oversight


         ICE detention facilities comply with one of four sets of ICE's national detention standards
and are also generally contractually required to maintain National Commission of Correctional
Health Care and American Correctional Association standards. These standards are designed to
ensure appropriate and consistent conditions of confinement exist throughout ICE's detention
system. Various entities provide oversight of ICE detention operations based on national detention
standards, and ICE detention facilities are subject to inspection by the Department of Homeland
Security (DHS) Office of the Inspector General (OIG), the ICE Office of Detention Oversight, the
DHS Office for Civil Rights and Civil Liberties, and most recently by a new and independent
office within DHS, the Office of the Immigration Detention Ombudsman.


         Moreover, IHSC conducts internal audits, referred to as the IHSC Health Systems
Assessments at IHSC-staffed facilities annually, and the FMCs assigned to each ICE Field Office
area of responsibility conduct site visits for non-IHSC staffed detention facilities. In addition, the
ICE Enforcement and Removal Operations Custody Management Division's Detention Oversight
Unit assigns dedicated onsite Detention Services Managers (DSMs) or Detention Standards
Compliance Officers (DSCOs) to many of the larger detention facilities. DSMs and DSCOs
review facility operations for compliance with applicable ICE detention standards and resolve
issues and concerns of individuals detained in ICE custody "on the spot" when possible. A DSCO


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and an FMC were both assigned to the Irwin County Detention Center (ICDC) during its operation
as an ICE facility.


                      IHSC Response to the Coronavirus (COVID-19) Pandemic


         In early 2020, IHSC responded to an emerging public health threat caused by a new
coronavirus disease, or COVID-19, which rapidly spread within communities due to its highly
transmissible nature. This public health threat quickly became a global pandemic. The nature of
the illness, combined with its rapid spread around the globe, represented an unprecedented
challenge to ICE operations and the IHSC health system. However, like other law enforcement
agencies working with a detained population, ICE is experienced in optimizing operations to limit
the spread of communicable infections amongst those in our custody. IHSC was able to quickly
adapt procedures to control infections such as measles, mumps, and chicken pox during the onset
of COVID-19, and to modify them as necessary as conditions changed.


         During the pandemic, ICE implemented several steps to reduce the spread of COVID-19
throughout ICE's detention network. These steps were guided primarily by the Centers for
Disease Control and Prevention's (CDC) recommendations, particularly for congregate settings,
and by our own internal public health resources. As the understanding of the nature of the
pandemic changed, so too did the CDC guidance. IHSC likewise continued to evaluate, align, and
revise our policies and guidance as the pandemic evolved.


         ICE ensures all those in its custody receive timely access to medical services and treatment,
including an initial health intake screening and follow-up for any existing or emergent health
conditions. IHSC continued to provide these services throughout the pandemic. Additionally, ICE
performs rigorous testing to limit the spread of COVID-19. The ICE COVID-19 policy is
described primarily in the Pandemic Response Requirement (PRR), of which there have been 10
versions. The PRR informs all internal guidance on COVID-19 for IHSC. ICE updates the PRR
as needed, based on changes to CDC COVID-19 guidelines or other significant DHS or the U.S.
government policy changes.




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         ICE currently evaluates several factors to assign a facility operating status to all IHSC
facilities. These levels are green, yellow, and red; they mirror the CDC's risk assessment levels
for COVID-19. The status levels take into consideration the presence of COVID-19 cases within a
facility; the level of COVID-19 in the county surrounding the facility; and other risk factors.
Depending on the risk level of the facility, ICE manages COVID-19 cases through several
approaches.


         Currently, ICE tests all new noncitizens who arrive at ICE-owned facilities for COVID-19
during the intake screening process. Depending on the facility operating status (thus the COVID-
19 risk at the facility), detainees may be isolated or processed into the general population. IHSC
uses the facility operational status level to inform other factors, such as testing upon transfer or
release, and quarantine periods.


         IHSC isolates detained noncitizens who develop fever, respiratory, or other COVID-related
symptoms. On-site medical professionals manage and observe patients with mild symptoms for a
specified period, in accordance with CDC guidance. ICE transports individuals with moderate to
severe symptoms — or those who require higher levels of care or monitoring — to the appropriate
medical centers or hospitals. IHSC places detained noncitizens, who return to a detention facility
while still within the contagious period, in isolation; a medical provider manages their health care.


         From the onset of reports of COVID-19, IHSC has tracked CDC and public health
agencies' guidance on the virus, regularly updated the agency's infection prevention and control
protocols, collaborated with state and local health partners, and issued timely guidance to staff and
detention contractors regarding appropriate screening and management protocols for those with
potential COVID-19 exposure or infection. In addition, ICE took several proactive measures to
prevent the spread of COVID-19, including:


         •   IHSC coordinated with partner agencies, including the CDC, U.S. Marshals Service,
             and the Bureau of Prisons. IHSC collaborated with medical professionals, disease
             control specialists, detention experts, and field operators to identify enhanced steps to
             minimize the spread of the virus.



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         •   ICE implemented measures to allow for greater social distancing in ICE detention
             facilities and directed all facilities to reduce the total population at detention facilities to
             75 percent of capacity or less. ICE also set a target of 70 percent capacity for ICE-
             owned and ICE-dedicated facilities.
         •   Throughout the pandemic, ICE maintained regular communication and provided
             guidance to our facility staff and partners. We highlighted applicable CDC guidance
             that applies to dedicated ICE detention facilities and encouraged non-dedicated
             facilities to adopt these best practices.
         •   ICE created and continually updated a COVID-19-specific plan outlining response
             requirements for the pandemic. The PRR includes requirements on intake screening,
             testing, management, prevention, transportation, and visitation. As the pandemic
             evolved, ICE updated this guidance as needed to include testing and vaccination.
         •   ICE uses an infection prevention strategy known as cohorting, which involves housing
             together detained noncitizens who are believed to have been exposed to a person with
             an infectious agent but are asymptomatic. Cohorting lasts for the duration of the
             incubation period, so in the case of COVID-19, the duration is 10 days. Since
             individuals afflicted with these and other communicable diseases may be contagious
             prior to developing symptoms, such protocols are important to maintain the health and
             safety of the overall detained population and staff. Cohorted noncitizens who
             subsequently develop fever and/or other symptoms are referred to a medical provider,
             evaluated, and, if suspected of having COVID-19, are housed in isolation and
             considered for testing at the discretion of the treating medical provider.
         •   Following the recommendations of the CDC Advisory Committee on Immunization
             Practices and other relevant federal government guidance regarding vaccine
             prioritization to ensure detainees receive their vaccinations as quickly as possible,
             IHSC developed and implemented an operations memorandum that authorized COVID-
             19 vaccine administration to ICE-detained noncitizens and established vaccination
             plans and priorities. As with all medical procedures, ICE ensures informed consent of
             detained noncitizens regarding the receipt of the COVID-19 vaccine and, following
             CDC and other clinical guidance, administers the vaccine in accordance with any
             restrictions based on the detained noncitizen's medical history. At IHSC-staffed-



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             facilities, all detained noncitizens are offered a vaccine unless it is medically
             contraindicated, or the detained noncitizen has documentation of a previous COVID-19
             vaccine. All non-IHSC-staffed facilities are instructed to follow the same guidelines.
             As of September 30, 2022, 66,580 non-citizens in ICE custody received COVID-19
             vaccinations at IHSC-staffed and non-IHSC-staffed facilities nationwide since detainee
             vaccinations began. A total of 76,553 non-citizen migrants have refused vaccination.
         •   IHSC supports several special missions to prevent COVID's spread. Medical personnel
             staffed sites along the southwest border to test noncitizens for COVID, in support of
             U.S. Customs and Border Protection during the migrant surge. In total, IHSC tested
             41,659 noncitizen migrants at these sites through September 15, 2022. IHSC managed
             all logistical support to ensure adequate supplies and equipment to sustain these
             operations. In Puerto Rico, IHSC staff tested and cared for 363 migrants, saving over
             $300,000.00 in emergency visits and staffing costs.


         The health and safety of ICE detained noncitizens and personnel is one of the agency's
highest priorities. Addressing the healthcare needs of those in ICE custody, even absent a
pandemic, requires detailed planning and remarkable execution. However, in the face of this
pandemic, our staff consistently demonstrates exceptional professionalism, adaptability, resilience,
and continued commitment to the health and welfare of detained noncitizens.


                                   Irwin County Detention Center


         ICE established an Inter-Governmental Service Agreement (IGSA) for the provision of the
necessary physical structure, equipment, facilities, personnel, and services at ICDC to provide a
program of care in a properly staffed and secure environment under the authority of the
Immigration and Nationality Act, as amended. All persons in the custody of the ICE are
"Administrative Detainees." This term recognizes ICE detainees are not charged with criminal
violations and are only held in custody to ensure their presence throughout the administrative
hearing process, to ensure their presence throughout the administrative process, and to ensure their
presence for removal from the United States pursuant a lawful final order by Immigration Court,
the Board of Immigration Appeals or other Federal judicial body. The IGSA set forth the



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responsibilities of ICE and the service provider. The agreement required the service provider to
provide all personnel, management, equipment, supplies and services necessary for performance of
all aspects of the agreement. The agreement also required the service provider to ensure the
safekeeping, housing, subsistence, medical and other program services provided to ICE detainees
housed in the facility is consistent with ICE's civil detention authority, the performance work
statement, IGSA requirements, and the ICE standards referenced in the agreement.


         In September 2020, ICE was informed of allegations of forced medical procedures
performed by an offsite provider serving the ICDC detained population through a whistleblower
complaint. While offsite, community-based providers are not contracted to provide services with
ICE or the detention facility, they are licensed medical professionals vetted by state and county
licensing boards. Following the whistleblower complaint, IHSC conducted a review of ICDC
healthcare procedures in October 2020—to include the most recent FMC site visit, the offsite
referral process related to OB/GYN surgeries, and the whistleblower allegations. Although ICE's
own review did not find evidence of any forced medical procedures, out of an abundance of
caution and due to the seriousness of the allegations, ICE took immediate steps to discontinue
sending patients in our custody to this offsite provider and to pursue alternate providers to serve
ICDC's female population. On November 25, 2020, ICE ceased intake of female detained
noncitizens at ICDC and on September 17, 2021, ICE ceased operations at ICDC altogether.


         On May 20, 2021, DHS Secretary Mayorkas directed ICE to prepare to discontinue use of
ICDC as soon as possible and consistent with any legal obligations, to include the preservation of
evidence for ongoing investigations. ICE is firmly committed to ensuring all those in its custody
receive appropriate medical care and are treated with respect and dignity. ICE is also committed to
fully cooperating and complying with all requests for information about these allegations from
oversight bodies, including Congress.


         Additionally, in September 2020, the DHS OIG received complaints concerning medical
care and response to COVID-19 protocols at ICDC. On January 3, 2022, DHS OIG issued a report
entitled, "Medical Processes and Communication Protocols Need Improvement at Irwin County
Detention Center." In its report, the DHS OIG acknowledged ICE detention standards and
overarching efforts to mitigate risks to the safety and well-being of detained noncitizens and staff


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because of the COVID-19 pandemic were largely in compliance at ICDC. For example, the DHS
OIG report noted ICE detention standards require all facilities provide detained noncitizens with
access to appropriate and necessary medical, dental, and mental healthcare services, and that these
services were provided at ICDC.


         Furthermore, the report acknowledged ICE issued its initial ICE COVID-19 PRR in early
April 2020, which has been updated throughout the pandemic to establish clear expectations and
assist facility operators in mitigating risks to the safety and well-being of detainees, staff,
contractors, as well as visitors and stakeholders due to COVID-19. The DHS OIG report also
noted ICE dramatically reduced the ICDC population by releasing noncitizens who might be at
higher risk of severe illness due to COVID-19 and that the facility complied with CDC and ICE
COVID-19 guidance.


         The DHS OIG report included five recommendations to improve ICE's oversight of
medical care and facility operations at ICDC. However, in May 2021 — approximately five months
before receiving the DHS OIG report - ICE gave notice of its intent to terminate its contract with
ICDC. By September 17, 2021, ICE ceased operations at ICDC, and on October 7, 2021, ICE
terminated its contract with ICDC. Since ICE no longer uses the facility, the recommendations
provided in the DHS OIG report could not be fully implemented.


         I look forward to your questions.




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